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Counsel for Plaintiff

                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

  SCOTT T. HACKER, Individually and Case No:
  on behalf of all others similarly situated,
                                              CLASS ACTION COMPLAINT
        Plaintiff,                            FOR VIOLATIONS OF THE
                                              FEDERAL SECURITIES LAWS
        v.
                                              JURY TRIAL DEMANDED
  ELECTRIC LAST MILE
  SOLUTIONS, INC. F/K/A FORUM
  MERGER III CORP., JAMES
  TAYLOR, JASON LUO, DAVID
  BORIS, MARSHALL KIEV, ALBERT
  LI, and ROBERT SONG,

        Defendants.



      Plaintiff Scott T. Hacker (“Plaintiff”), individually and on behalf of all other

persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon

personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and

belief as to all other matters, based upon, inter alia, the investigation conducted by

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and through his attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by

Defendants, public filings, wire and press releases published by and regarding

Electric Last Mile Solutions, Inc. f/k/a Forum Merger III Corp. (“ELMS” or the

“Company”), and information readily obtainable on the Internet. Plaintiff believes

that substantial evidentiary support will exist for the allegations set forth herein after

a reasonable opportunity for discovery.

                            NATURE OF THE ACTION

      1.     This is a class action on behalf of persons or entities who purchased or

otherwise acquired publicly traded ELMS securities between March 31, 2021 and

February 1, 2022, inclusive (the “Class Period”). Plaintiff seeks to recover

compensable damages caused by Defendants’ violations of the federal securities

laws under the Securities Exchange Act of 1934 (the “Exchange Act”).

                          JURISDICTION AND VENUE

      2.     The claims asserted herein arise under and pursuant to Sections 10(b)

and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

      3.     This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C.

§78aa).


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       4.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged

misstatements entered and the subsequent damages took place in this judicial

district.

       5.   In connection with the acts, conduct and other wrongs alleged in this

complaint, Defendants, directly or indirectly, used the means and instrumentalities

of interstate commerce, including but not limited to, the United States mails,

interstate telephone communications and the facilities of the national securities

exchange.

                                    PARTIES

       6.   Plaintiff, as set forth in the accompanying certification, incorporated

by reference herein, purchased ELMS securities during the Class Period and was

economically damaged thereby.

       7.   ELMS purports to be a pure-play commercial electric vehicle

company. On June 25, 2021, Electric Last Mile, Inc. and Forum Merger III Corp.,

a special purpose acquisition company (“SPAC”) or blank check company, closed

the merger (the “Merger”) which resulted in ELMS.

       8.   The Company is incorporated in Delaware and its head office is located

at 1055 W. Square Lake Road, Troy, MI, 48098. ELMS’s common stock trades on

the NASDAQ under the ticker symbol “ELMS” and ELMS’s warrants trade on the


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NASDAQ under the ticker symbol “ELMSW.” Prior to the Merger, the Company’s

securities traded on the NASDAQ under the ticker symbols “FIII,” “FIIIU,” and

“FIIIW.”

      9.     Defendant James Taylor (“Taylor”) served as the Company’s Chief

Executive Officer (“CEO”) following the Merger until February 1, 2022. Prior to

the Merger, Defendant Taylor was Electric Last Mile, Inc.’s co-founder and CEO.

      10.    Defendant Jason Luo (“Luo”) served as the Company’s Executive

Chairman following the Merger until February 1, 2022. Prior to the Merger,

Defendant Luo was Electric Last Mile, Inc.’s co-founder and Executive Chairman.

      11.    Defendant David Boris (“Boris”) served as the Company’s Co-Chief

Executive Officer (“Co-CEO”), Chief Financial Officer (“CFO”), and as a Director

at all relevant times prior to the Merger and continues to serve as a Director of

ELMS.

      12.    Defendant Marshall Kiev (“Kiev”) served as the Company’s Co-CEO

at all relevant times prior to the Merger.

      13.    Defendant Albert Li (“Li”) served as the Company’s CFO from June

2021 through November 2021.

      14.    Defendant Robert Song (“Song”) has served as the Company’s CFO

and Treasurer since November 2021.




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      15.   Defendants Taylor, Luo, Boris, Kiev, Li, and Song are collectively

referred to herein as the “Individual Defendants.”

      16.   Each of the Individual Defendants:

            (a)    directly participated in the management of the Company;

            (b)    was directly involved in the day-to-day operations of the

                   Company at the highest levels;

            (c)    was privy to confidential proprietary information concerning the

                   Company and its business and operations;

            (d)    was directly or indirectly involved in drafting, producing,

                   reviewing and/or disseminating the false and misleading

                   statements and information alleged herein;

            (e)    was directly or indirectly involved in the oversight or

                   implementation of the Company’s internal controls;

            (f)    was aware of or recklessly disregarded the fact that the false and

                   misleading statements were being issued concerning the

                   Company; and/or

            (g)    approved or ratified these statements in violation of the federal

                   securities laws.

      17.   The Company is liable for the acts of the Individual Defendants and its

employees under the doctrine of respondeat superior and common law principles


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of agency because all of the wrongful acts complained of herein were carried out

within the scope of their employment.

      18.    The scienter of the Individual Defendants and other employees and

agents of the Company is similarly imputed to the Company under respondeat

superior and agency principles.

      19.    The Company and the Individual Defendants are collectively referred

to herein as “Defendants.”

                           SUBSTANTIVE ALLEGATIONS
                         Materially False and Misleading
                    Statements Issued During the Class Period
      20.    On March 31, 2021, the Company filed with the SEC its annual report

for the year ended December 31, 2020 (the “2020 Annual Report”) signed by

Defendant Boris. Attached to the 2020 Annual Report were certifications pursuant

to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants Kiev and Boris

attesting to the accuracy of financial reporting, the disclosure of any material

changes to the Company’s internal control over financial reporting and the

disclosure of all fraud.

      21.    The 2020 Annual Report contained the following financial statements:




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      22.    On May 7, 2021, the Company filed with the SEC an amendment to its

2020 Annual Report on Form 10-K/A (the “2020 Amendment”) signed by

Defendant Boris. Attached to the 2020 Amendment were certifications pursuant to

SOX signed by Defendants Kiev and Boris attesting to the accuracy of financial

reporting, the disclosure of any material changes to the Company’s internal control

over financial reporting and the disclosure of all fraud.

      23.    The 2020 Amendment contained the following financial statements:




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      24.    On May 26, 2021, the Company filed with the SEC its quarterly report

for the period ended March 31, 2021 (the “1Q21 Report”) signed by Defendants

Kiev and Boris. Attached to the 1Q21 Report were certifications pursuant to SOX

signed by Defendants Kiev and Boris attesting to the accuracy of financial reporting,

the disclosure of any material changes to the Company’s internal control over

financial reporting and the disclosure of all fraud.

      25.    The 1Q21 Report contained the following financial statements:




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      26.    On August 13, 2021, the Company filed with the SEC its quarterly

report for the period ended June 30, 2021 (the “2Q21 Report”) signed by Defendants

Taylor and Li. Attached to the 2Q21 Report were certifications pursuant to SOX

signed by Defendants Taylor and Li attesting to the accuracy of financial reporting,

the disclosure of any material changes to the Company’s internal control over

financial reporting and the disclosure of all fraud.

      27.    The 2Q21 Report contained the following financial statements:




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      28.   The 2Q21 Report stated the following, in relevant part, regarding

Defendant Luo’s dealings:

      On June 23, 2021, an entity controlled by Jason Luo sold 6,097
      common shares of ELM [Electric Last Mile, In.] back to ELM for the
      original purchase price of $10.00 per share or a total of $61 thousand,
      prior to and in connection with the issuance of 5,000,000 shares of the
      Company's common stock to SERES upon the closing of the Business
      Combination pursuant to the SERES Asset Purchase Agreement. This
      transaction was presented in the condensed consolidated statement of
      changes in shareholders’ equity (deficit) retroactively applying the
      exchange ratio from the Business Combination.


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      29.    On November 12, 2021, the Company filed with the SEC its quarterly

report for the period ended September 30, 2021 (the “3Q21 Report”) signed by

Defendants Taylor and Song. Attached to the 3Q21 Report were certifications

pursuant to SOX signed by Defendants Taylor and Song attesting to the accuracy

of financial reporting, the disclosure of any material changes to the Company’s

internal control over financial reporting and the disclosure of all fraud.

      30.    The 3Q21 Report contained the following financial statements:




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      31.    The statements contained in ¶¶ 20-30 were materially false and/or

misleading because they misrepresented and failed to disclose the following adverse

facts pertaining to the Company’s business, operations and prospects, which were

known to Defendants or recklessly disregarded by them. Specifically, Defendants

made false and/or misleading statements and/or failed to disclose that: (1) ELMS’s

previously issued financial statements were false and unreliable; (2) ELMS’s earlier

reported financial statements would need restatement; (3) certain EMLS executives

and/or directors purchased equity in the Company at substantial discounts to market

value without obtaining an independent valuation; (4) on November 25, 2021

(Thanksgiving), the Company’s Board formed an independent Special Committee

to conduct an inquiry into certain sales of equity securities made by and to

individuals associated with the Company; and (5) as a result, Defendants’

statements about its business, operations, and prospects, were materially false and

misleading and/or lacked a reasonable basis at all relevant times.

                            THE TRUTH EMERGES

      32.    On February 2, 2022, after trading hours, the Company issued a press

release entitled “Electric Last Mile Solutions Announces Leadership Transition and

Financial Update” which announced changes to is leadership and that certain of its

financial statements needed restatement, stating the following, in relevant part:

      Transition Follows Resignation of CEO and President James Taylor
      and Chairman Jason Luo

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      Company Advises Non-Reliance on Financial Statements, Which Will
      be Restated

      Electric Last Mile Solutions, Inc. (Nasdaq: ELMS; ELMSW) (“ELMS”
      or “the Company”), a pioneer of electric and intelligent mobility
      solutions for commercial vehicle customers, today announced that
      Shauna McIntyre, a member of the Company’s Board of Directors, has
      been appointed as Interim Chief Executive Officer and President,
      succeeding James Taylor, who has resigned from his role as Chief
      Executive Officer and a member of the Board. In addition, Brian
      Krzanich has been appointed Non-Executive Chairman of the Board,
      replacing Jason Luo, who has also resigned from his position as
      Executive Chairman of the Board. The departures follow an
      investigation conducted by a Special Committee of the Board of
      Directors (the “Special Committee”).

      On November 25, 2021, the Company’s Board formed an independent
      Special Committee to conduct an inquiry into certain sales of equity
      securities made by and to individuals associated with the Company,
      the legal, disclosure and tax consequences of those transactions, and
      other issues that arose in connection those sales. Based on the Special
      Committee’s investigation, the Company has concluded that in
      November and December 2020, shortly before the Company’s
      December 10, 2020 announcement of a definitive agreement for a
      business combination with Forum Merger III Corporation, certain
      Electric Last Mile Inc. executives purchased equity in the Company
      at substantial discounts to market value without obtaining an
      independent valuation. Mr. Taylor purchased equity in these
      transactions. Mr. Luo participated in these and other transactions and
      directly or indirectly purchased and sold equity in such transactions.

      In addition, on January 26, 2022, on the basis of the Special
      Committee investigation, the Board concluded that the Company’s
      previously issued consolidated financial statements should be restated
      and, therefore, should no longer be relied upon. The financial
      statements in question cover the period as of December 31, 2020, the
      period from August 20, 2020 (inception) through December 31, 2020,
      the six months ended June 30, and the nine months ended September
      30, 2021. In connection with this conclusion, the Company, together

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       with its advisors, is evaluating the accounting and treatment of certain
       equity issuances to executive officers. Although the Company cannot,
       at this time, estimate when it will file its restated financial statements
       for such periods, it is diligently pursuing completion of the restatement,
       including with respect to an evaluation of the Company’s financial
       statement reserves for tax payments and contingencies.

       (Emphasis added.)

       33.   On this news, the Company’s share price fell $2.88 per share, or 51%,

to close at $2.71 per share on February 2, 2022, on unusually heavy trading volume,

damaging investors.

       34.   As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.

               PLAINTIFF’S CLASS ACTION ALLEGATIONS

       35.   Plaintiff brings this action as a class action pursuant to Federal Rule of

Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other

than defendants who acquired ELMS securities publicly traded on NASDAQ during

the Class Period, and who were damaged thereby (the “Class”). Excluded from the

Class are Defendants, the officers and directors of the Company, members of the

Individual Defendants’ immediate families and their legal representatives, heirs,

successors or assigns and any entity in which Defendants have or had a controlling

interest.



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       36.      The members of the Class are so numerous that joinder of all members

is impracticable. Throughout the Class Period, ELMS securities were actively

traded on NASDAQ. While the exact number of Class members is unknown to

Plaintiff at this time and can be ascertained only through appropriate discovery,

Plaintiff believes that there are hundreds, if not thousands of members in the

proposed Class.

       37.      Plaintiff’s claims are typical of the claims of the members of the Class

as all members of the Class are similarly affected by Defendants’ wrongful conduct

in violation of federal law that is complained of herein.

       38.      Plaintiff will fairly and adequately protect the interests of the members

of the Class and has retained counsel competent and experienced in class and

securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

of the Class.

       39.      Common questions of law and fact exist as to all members of the Class

and predominate over any questions solely affecting individual members of the

Class. Among the questions of law and fact common to the Class are:

       •        whether the Exchange Act was violated by Defendants’ acts as alleged

                herein;




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      •     whether statements made by Defendants to the investing public during

            the Class Period misrepresented material facts about the business and

            financial condition of the Company;

      •     whether Defendants’ public statements to the investing public during

            the Class Period omitted material facts necessary to make the

            statements made, in light of the circumstances under which they were

            made, not misleading;

      •     whether the Defendants caused the Company to issue false and

            misleading filings during the Class Period;

      •     whether Defendants acted knowingly or recklessly in issuing false

            filings;

      •     whether the prices of ELMS securities during the Class Period were

            artificially inflated because of the Defendants’ conduct complained of

            herein; and

      •     whether the members of the Class have sustained damages and, if so,

            what is the proper measure of damages.

      40.   A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

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impossible for members of the Class to individually redress the wrongs done to

them. There will be no difficulty in the management of this action as a class action.

      41.    Plaintiff will rely, in part, upon the presumption of reliance established

by the fraud-on-the-market doctrine in that:

      •      ELMS securities met the requirements for listing, and were listed and

             actively traded on NASDAQ, an efficient market;

      •      As a public issuer, the Company filed public reports;

      •      the Company communicated with public investors via established

             market communication mechanisms, including through the regular

             dissemination of press releases via major newswire services and

             through     other   wide-ranging     public    disclosures,    such    as

             communications with the financial press and other similar reporting

             services;

      •      the Company’s securities were liquid and traded with moderate to

             heavy volume during the Class Period; and

      •      the Company was followed by a number of securities analysts

             employed by major brokerage firms who wrote reports that were

             widely distributed and publicly available.

      42.    Based on the foregoing, the market for the Company securities

promptly digested current information regarding the Company from all publicly

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available sources and reflected such information in the prices of the common units,

and Plaintiff and the members of the Class are entitled to a presumption of reliance

upon the integrity of the market.

      43.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted

material information in their Class Period statements in violation of a duty to

disclose such information as detailed above.

                                   COUNT I
   For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                            Against All Defendants
      44.     Plaintiff repeats and realleges each and every allegation contained

above as if fully set forth herein.

      45.     This Count is asserted against Defendants is based upon Section 10(b)

of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder

by the SEC.

      46.     During the Class Period, Defendants, individually and in concert,

directly or indirectly, disseminated or approved the false statements specified

above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order




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to make the statements made, in light of the circumstances under which they were

made, not misleading.

        47.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that

they:

              •     employed devices, schemes and artifices to defraud;

              •     made untrue statements of material facts or omitted to state

                    material facts necessary in order to make the statements made, in

                    light of the circumstances under which they were made, not

                    misleading; or

              •     engaged in acts, practices and a course of business that operated

                    as a fraud or deceit upon plaintiff and others similarly situated in

                    connection with their purchases of the Company’s securities

                    during the Class Period.

        48.   Defendants acted with scienter in that they knew that the public

documents and statements issued or disseminated in the name of the Company were

materially false and misleading; knew that such statements or documents would be

issued or disseminated to the investing public; and knowingly and substantially

participated, or acquiesced in the issuance or dissemination of such statements or

documents as primary violations of the securities laws. These defendants by virtue

of their receipt of information reflecting the true facts of the Company, their control


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over, and/or receipt and/or modification of the Company’s allegedly materially

misleading statements, and/or their associations with the Company which made

them privy to confidential proprietary information concerning the Company,

participated in the fraudulent scheme alleged herein.

      49.     Individual Defendants, who are or were senior executives and/or

directors of the Company, had actual knowledge of the material omissions and/or

the falsity of the material statements set forth above, and intended to deceive

Plaintiff and the other members of the Class, or, in the alternative, acted with

reckless disregard for the truth when they failed to ascertain and disclose the true

facts in the statements made by them or other ELMS personnel to members of the

investing public, including Plaintiff and the Class.

      50.     As a result of the foregoing, the market price of ELMS securities was

artificially inflated during the Class Period. In ignorance of the falsity of

Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of

ELMS securities during the Class Period in purchasing ELMS securities at prices

that were artificially inflated as a result of Defendants’ false and misleading

statements.

      51.     Had Plaintiff and the other members of the Class been aware that the

market price of ELMS securities had been artificially and falsely inflated by


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Defendants’ misleading statements and by the material adverse information which

Defendants did not disclose, they would not have purchased Company securities at

the artificially inflated prices that they did, or at all.

       52.     As a result of the wrongful conduct alleged herein, Plaintiff and other

members of the Class have suffered damages in an amount to be established at trial.

       53.    By reason of the foregoing, Defendants have violated Section 10(b) of

the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff

and the other members of the Class for substantial damages which they suffered in

connection with their purchase of ELMS securities during the Class Period.

                                     COUNT II
                  Violations of Section 20(a) of the Exchange Act
                        Against the Individual Defendants
       54.    Plaintiff repeats and realleges each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

       55.    During the Class Period, the Individual Defendants participated in the

operation and management of the Company, and conducted and participated,

directly and indirectly, in the conduct of the Company’s business affairs. Because

of their senior positions, they knew the adverse non-public information about the

Company’s misstatement of revenue and profit and false financial statements.

       56.    As officers of a public business, the Individual Defendants had a duty

to disseminate accurate and truthful information with respect to the Company’s


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financial condition and results of operations, and to correct promptly any public

statements issued by the Company which had become materially false or

misleading.

      57.     Because of their positions of control and authority as senior executives

and/or directors, the Individual Defendants were able to, and did, control the

contents of the various reports, press releases and public filings which the Company

disseminated in the marketplace during the Class Period concerning the Company’s

results of operations. Throughout the Class Period, the Individual Defendants

exercised their power and authority to cause the Company to engage in the wrongful

acts complained of herein. The Individual Defendants therefore, were “controlling

persons” of the Company within the meaning of Section 20(a) of the Exchange Act.

In this capacity, they participated in the unlawful conduct alleged which artificially

inflated the market price of Company securities.

      58.     By reason of the above conduct, the Individual Defendants are liable

pursuant to Section 20(a) of the Exchange Act for the violations committed by the

Company.

                             PRAYER FOR RELIEF

      WHEREFORE, plaintiff, on behalf of himself and the Class, prays for

judgment and relief as follows:




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      (a)    declaring this action to be a proper class action, designating plaintiff

as Lead Plaintiff and certifying plaintiff as a class representative under Rule 23 of

the Federal Rules of Civil Procedure and designating plaintiff’s counsel as Lead

Counsel;

      (b)    awarding damages in favor of plaintiff and the other Class members

against all defendants, jointly and severally, together with interest thereon;

      (c)    awarding plaintiff and the Class reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

      (d)    awarding plaintiff and other members of the Class such other and

further relief as the Court may deem just and proper.

                           JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.



Dated: February 3, 2022                 THE ROSEN LAW FIRM, P.A

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